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Opinion filed February 8, 2007

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&nbsp;&nbsp;&nbsp; Eleventh Court of Appeals

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; IN THE INTEREST OF S.S., A CHILD

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Appeal from the 106th District Court

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Gaines County, Texas

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Trial
Court Cause No. 03-09-14657

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; O
P I N I O N

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Ricky and Rita Smith divorced on April 30,
2003.&nbsp; On September 11, 2003, Rita filed
an application for a protective order under the provisions of the Texas Family
Code alleging Ricky committed family violence against her.&nbsp; See Tex.
Fam. Code Ann. ''
71.001-87.004 (Vernon 2002 &amp; Supp. 2006).&nbsp;
The trial court granted the application for a protective order on
October 9, 2003.&nbsp; Ricky appealed the
trial court=s order
granting the protective order to this court.&nbsp;
We affirmed the trial court=s
order on March 17, 2005.&nbsp; Rita filed a
motion to modify the protective order on June 2, 2005.&nbsp; On July 28, 2005, the trial court entered an
order modifying the protective order.&nbsp;
Ricky appeals the trial court=s
order modifying the protective order.&nbsp; We
affirm.








In his sole issue on appeal, Ricky argues that the
trial court erred in modifying the protective order.&nbsp; Rita requested that the trial court modify
the protective order to require Ricky to pay attorney=s&nbsp; fees resulting from his unsuccessful appeal
to this court of the trial court=s
order granting the protective order.&nbsp;
After a hearing, the trial court granted the motion to modify and
ordered Ricky to pay $3,525 in attorney=s
fees for the unsuccessful appeal.

Ricky first argues that the trial court could not
modify the protective order without a showing of changed circumstances.&nbsp; Ricky contends that a protective order is a
permanent injunction and that a permanent injunction requires a showing of
changed circumstances for modification.&nbsp;
However, Section 87.001 provides:

On the motion of any party, the court, after
notice and hearing, may modify an existing protective order to:

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(1) exclude any item included in the order;&nbsp; or

(2) include any item that could have been included
in the order. 

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Section 87.001 applies specifically to protective orders and does
not require a showing of changed&nbsp;
circumstances.&nbsp; Section 87.001
allows a modification for any item that could have been included in the
protective order.&nbsp; Section 81.005(a)
states:

The court may assess reasonable attorney=s fees against the party found to have
committed family violence or a party against whom an agreed protective order is
rendered under Section 85.005 as compensation for the services of a private or
prosecuting attorney or an attorney employed by the Department of Protective
and Regulatory Services.

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Therefore, the trial court could modify the protective order to
include attorney=s fees
without a showing of changed circumstances.








Ricky next argues that the doctrine of res
judicata prevented the trial court from being able to modify the protective
order and also that the trial court did not have the authority to modify the
protective order without a mandate from this court concerning the issue of
attorney=s
fees.&nbsp;&nbsp; Title IV of the Family Code
governing family violence protective orders is a unique statutory scheme that
provides specific statutory procedures.&nbsp; See
Martinez v. Martinez, 52 S.W.3d 429, 432&nbsp;
(Tex. App.C Fort
Worth 2001, pet. den=d).&nbsp;&nbsp; During the effective period of a protective
order, the trial court retains the power and jurisdiction to modify the order
by either deleting or adding items to the order.&nbsp; Cooke v. Cooke,&nbsp; 65 S.W.3d 785, 788 (Tex. App.CDallas
2001, no pet.).&nbsp; Section 87.001 provides
the trial court with jurisdiction and power to modify the protective order.

Finally, Ricky&nbsp;
argues that the terms of Section 87.001 are ambiguous and that the trial
court incorrectly interpreted the statute.&nbsp;
Section 87.001 allows the trial court to modify the protective order to
include any item that could have been included in the order.&nbsp; Ricky complains that the statute is ambiguous
because it does not define Aany
item.@

As previously stated, Title IV of the Family Code
provides specific guidelines for obtaining family violence protective
orders.&nbsp; Specifically, Sections 81.001,
81.005, 85.001, 85.021, and 85.022 set out the required findings for a
protective order and the contents of a protective order.&nbsp; We find that the term Aany
item@ as used
in Section 87.001 is not ambiguous and that the trial court did not apply the
statute incorrectly.&nbsp; The trial court did
not err in modifying the protective order to include appellate attorney=s fees.&nbsp;
Ricky=s sole
issue on appeal is overruled.

The judgment of the trial court is affirmed.

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JIM R. WRIGHT

CHIEF JUSTICE

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February 8, 2007

Panel
consists of:&nbsp; Wright, C.J.,

McCall,
J., and Strange, J.





